Case 5:24-cv-00278-H-BV        Document 16       Filed 05/13/25      Page 1 of 6      PageID 127



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

  ALVIN RAY COOPER, ct al.,

         Plaintiffs.

                                                              No. 5 :24-CV-27ti-Fl-llV

  REON RAISSEZ, et al.,

         Defendants

    ORDER ADOPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
              OF THE UNITED STATES MAGISTRATE JUDGE

         United States Magistrate Judge Amanda 'Amy' R. Burch made Findings,

  Conclusions, and a Recommendation (FCR) on February 4,2025. .Sre Dkt. No, 13. Judge

  Burch recommended that the Court deny the plaintiffs' motion for a preliminary injunction

  and temporary restraining order (TRO). Id at 5. The plaintiffs timely filed a response and

  objections to the FCR. Dkt. No. 14.

         The plaintiffs object to Judge Burch's finding that the plaintiffs have not "provided

  notice oftheir request for injunctive reliefto the opposing parties" or complied with the

  exception to the notice requirement under Federal Rule of Civil Procedure 65(bX1). Dkt.

  Nos. 13 at 3; 14 at 3. The plaintiffs also object to Judge Burch's finding that the plaintiffs

  have "not pleaded facts showing [Saint Francis Ministries] is a state actor such that it may

  be liable under $ 1983." Dkt. Nos. 13at4 14 at     l. The Court can discern no other specific
  objections in the plaintiffs' response to the FCR (Dkt. No. 14).

         For the reasons stated below, the Court overrules the plaintiffs' objections and

  accepts and adopts the FCR (Dkt. No. 13). The plaintiffs' motion for a preliminary

  injunction or TRO (Dkt. No. 8) is denied without prejudice.
Case 5:24-cv-00278-H-BV        Document 16       Filed 05/13/25      Page 2 of 6     PageID 128



  l.     Factual and Procedural Background

         In July 2024, pro se plaintiffAlvin Ray Cooper was arrested by Floydada police for

  possession of marijuana, resisting arrest, and assaulting his wife-fellow pro se plaintiff

  Amy Marie Hemandez-Cooper. Dkt. No. 2 at 2. Mr. Cooper and Mrs. Hemandez-Cooper

  share two minor daughters, who were in Mr. Cooper's care due to Mrs. Hemandez-

  Cooper's drug relapse. 1d. The Texas Department of Family and Protective Services

  (DFPS) opened a case, and a statejudge ordered the daughters temporarily removed from

  Mr. Cooper's custody. Id. The plaintiffs seem to have had several disagreements with

  DFPS and DFPS conrractor Saint Francis Ministries about safety plans, visitation,

  counseling, and overall custody regarding their daughters. See generally Dkt. Nos. 7; 8; 14.

         In December 2024, rhe plaintiffs sued the defendants in federal court and

  subsequently moved for a TRO. See Dkt. Nos. 2; 7; 8. The plaintiffs contend that DFPS

  violated court orders related to visitation and is seeking psychological counseling for their

  daughters against the plaintiffs' wishes . Dkt. Nos. 7 at 7;8 at7-8. The plaintiffs ask the

  Court to order DFPS and Saint Francis Minisuies to immediately retum the children to the

  plaintiffs' custody. Dkt. No. 8 at 6. Judge Burch recommended that the Court deny the

  plaintiffs' motion, Dkt. No. 13, and the plaintiffs responded with objections, Dkt. No. 14.

  2.     Legal Standards

         The Court "must determine de novo any part of the magistrate judge's disposition

  that has been properly objected to." Fed. R. Civ. P. 72(b)(3); see also 28 U.S.C. S 636(b)( l).

  The Court reviews uncontested portions of the FCR only for plain error. See Douglass v.

  United Sems. Auto. Ass'n,79 F.3d 1415, 1417 (5th Cr. 1996), superseded by statute ofl other




                                                 2
Case 5:24-cv-00278-H-BV         Document 16       Filed 05/13/25      Page 3 of 6      PageID 129



  grounds,28 U.S.C. $ 636@X1); Serrano v. Customs & Border Patrol,975 F.3d 488, 502 (5th Cir

  2020).

           Therefore, in this case, the Court reviews de novo: (l) whether the plaintiffs

  complied with the notice requtements of Rule 65, and (2) whether the plaintiffs have pled

  facts sufficient to show that Saint Francis Ministries is a state actor subject to liability under

  Section 1983.

  3.       Analysis

           The Court ovenules both objections, and it finds no plain error in the uncontested

  portions of the FCR. Therefore, the Court adopts the FCR in its entrety.

           A,     The Court overrules the plaintiffs' objections to the FCR.

           The Court overrules both objections and adopts the FCR as writtcn.

           First, the plaintiffs appear to object to the FCR's finding that the "record does not

  reflect that [they] have provided notice of thelr request for injunctive reliefto the opposing

  pafties" under Rule 65. Dkt. No. 13 at 3. Specifically, the plaintiffs contend that they

  "ha[ve] made every attempt to comply with Fed. R. Civil P. 65(bX1)" and that they have

  attached several documents to their response and objections to the FCR (Dkt. No .14) "that

  clearly show[] in laymen terms the Plaintiffs factual attempt to comply with" Rule 65(b)(l).

  Dkt. No. 14 at 3.

           Rule 65 states that a "court may issue a preliminary injunction only on notice to the

  adverse party." Fed. R. Civ. P. 65(a)(1). A court may issue a TRO without notice "only

  if . . . specific facts in an affidavit or a verified complaint clearly show that immediate and

  irreparable injury, loss, or damage will result to the movant before the adverse party can be




                                                   3
Case 5:24-cv-00278-H-BV         Document 16      Filed 05/13/25      Page 4 of 6      PageID 130



  heard in opposition [and] the movant's attomey certifies in writing any efforts made to give

  notice and the reasons why it should not be required." Fed. R. Civ. P. 65(b)(1).

           Here, the Court agrees with the Magistrate Judge's Frnding that nothing in the record

  shows that the plaintifls have provided notice to the defendants under Rule 65(aXl). The

  plaintiffs appear to object that they have attempted to comply with Rule 65(bXl)(B) bv

  explaining their "efforts made to give notice and the reasons why it should not bc required."

  Dkt, No. 14 at 3. The plaintiffs point the Court to Attachmcnts A, B, C, D, E, F, G, and H

  to their response and objections to the FCR (Dkt. No. l4). These attachments include

  approximately 50 pages of DFPS and court records, a newsletter articlc, emails, and retypcd

  text messages allegedly berween the plaintiffs and DFPS employees. See id. at 5-55. But

  most of these documents predate the plaintiffs' motion (Dkt, No. 8) by many months, and

  none ofthem relate to notirying any parry associated with the defendants ofthe plaintiffs'

  intent to seek a TRO. These attachments in no way show "efforts made to give notice" of

  the TRO. Fed. R. Civ. P. 65(bXlXB). Neither do they provide any "reasons why [notice]

  should not be required." Id, And, even if they did, Rule 65(b)(1) also requires the plaintiffs

  to show that irreparable injury will result before the adverse party can bc heard in opposition

  to the TRO. The plaintiffs' attachments also fail to make this showing.

           Therefore, the Court agrees with the FCR that the plaintiffs' motion for a

  preliminary injunction or TRO should be denied for failure to comply with the notice

  requirements of Rule 65. The Court overrules the objection and adopts the FCR on this

  point.

           Second, the plaintiffs appear to object to thc FCR's finding that they have not pled

  sufficient facts to show that Saint Francis Ministries is a state actor subject to Section 1983.


                                                  4
Case 5:24-cv-00278-H-BV        Document 16        Filed 05/13/25      Page 5 of 6     PageID 131



  Dkt. No. 14 at t. The plaintiffs state in their response that Saint Francis Ministries was

  "acting under ofcolor ofState and Federal Law." /d The plaintifls also include the

  following quote from an unknown source: "The court finds that pursuant to Texas Family

  Code Chapter 264, Subchapter B-1, employees ofSaint Francis Community Services , . , act

  as authorized agents of [DFPS] and have the same authority as [DFPS] caseworker[s]

  regarding case management duties and associated responsibilities. " Id. (all caps removed).

          To state a cause ofaction under Section 1983, a plaintiff"must allege that the person

  who deprived him of a federal right was acting under color of law. " Priester v. I.owndes

  County,354F,3d4l4,420 (5th Cir,2004). For a private person or organization, the plaintiff

  must allege that there was "an agreement between the private and public defendants to

  commit an illegal act" and that there was "a deprivation of constitutional rights." 1d,

  "Allegations that are merely conclusory, without reference to specific facts, will not suffice."

  Id.

          Here, the plaintiffs' threadbare assertion that Saint Francis Ministries was "acting

  under ofcolor ofState and Federal Law" is merely conclusory and does not suffrce. The

  plaintiffs cite no specif,rc facts, cases, or authoriry in their response. And the Court agrees

  with the FCR that the plaintiffs likewise do not sufEciently plead facts as to Saint Francis

  Minisries in their complaint.

          Therefore, the Court agrees with the FCR that the plaintiffs "have not pleaded facts

  showing [Saint Francis Ministries] is a state actor such that it may be liable under $ 1983."

  Dkt. No. 13 at 4. The Court overrules the objection and adopts the FCR on this point as

  well.




                                                  ,5
Case 5:24-cv-00278-H-BV        Document 16       Filed 05/13/25     Page 6 of 6      PageID 132



         B.     The Court finds no plain error in the uncontested portions ofthe FCR.

         Although the plaintiffs state many other facts and grievances in their response (Dkt.

  No. 14), the Court can find no other discernable, specific objections to the FCR. Upon

  review ofthe record and unobjected+o portions ofthe FCR, the Court finds no plain error

  and adopts the FCR as written.

  4.     Conclusion

         Having reviewed the objected-to portions of the FCR de novo, the Court finds that

  the plaintiffs have failed to comply with Rule 65's notice requirements and to plead

  sufficient facts to show that Saint Francis Ministries is a state actor under Section 1983.

  Therefore, the Court ovemrles the objections. Having also reviewed the record and the

  remainder of the FCR, the Court f,rnds no plain error. The Court, therefore, adopts the FCR

  (Dkt. No. l3) in its entirety. The plaintiffs motion for a preliminary injunction or TRO

  (Dkt. No. 8) is denied without prejudice.

         So ordered on   uuyE zozs

                                                      JAM WES EY HENDRIX
                                                      UN ED STATES DISTRICT JUDGE




                                                 6
